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 12                              UNITED STATES DISTRICT COURT
 13                         CENTRAL DISTRICT OF CALIFORNIA
 14                                   WESTERN DIVISION
 15
 16   JENNY LISETTE FLORES, et al.,            Case No. CV 85-4544-DMG-AGRx
 17         Plaintiffs,                        PLAINTIFFS’ RESPONSE TO JUVENILE
 18                                            COORDINATORS’ INTERIM REPORTS
      v.
 19                                            Hearing: December 4, 2020
      WILLIAM BARR, Attorney General of
 20                                            11:00 AM
      the United States, et al.,
 21                                            [Hon. Dolly M. Gee]
 22         Defendants.
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                                          2        PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
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  1         On September 4, 2020, the Court ordered the ICE and ORR Juvenile
  2   Coordinators to “maintain records and statistical information on minors held in
  3   Title 42 custody pursuant to Paragraph 28A, and . . . monitor compliance with the
  4   Agreement with respect to any minors held in Title 42 custody pursuant to
  5   Paragraph 29.” Order re Plaintiffs’ Motion to Enforce Settlement as to “Title 42”
  6   Class Members [Doc. # 976] (“Title 42 Order”), at 18.
  7         By order dated October 26, 2020, the Court directed the ICE and ORR
  8   Juvenile Coordinators to report regarding, inter alia, “the topics listed in the April
  9   24, 2020 Order [Doc. # 784] and compliance with the Court’s order regarding
 10   minors held under Title 42 authority [Doc. # 976].”1 Order re October 23, 2020
 11   Status Conference [Doc. # 1014] (“Oct. 26 Order”), at 3.
 12         The Juvenile Coordinators’ Interim Reports fail to supply information
 13   sufficient to show that Defendants are complying with the Settlement during the
 14   COVID-19 pandemic. The Court should order the Coordinators’ reports to provide
 15   the following information going forward.
 16         1)     The Juvenile Coordinators should report the reasons Defendants
 17                detain children in unlicensed CBP facilities for more than 72 hours
 18                pursuant to Title 42 or Title 8.
 19         The Reports fail to provide adequate information regarding Defendants’
 20   compliance with the Court’s order that “[a]ll minors detained in the legal custody
 21   of DHS or ORR pursuant to Title 42 are Class Members as defined by Paragraph
 22   10 of the Flores Agreement” and that Defendants must therefore “comply with the
 23   Agreement with respect to such minors to the same degree as any other minors
 24   held in their custody.” Title 42 Order at 17.
 25         ICE’s Juvenile Coordinator reports “that ICE has included minors
 26
 27   1
        The ICE and ORR Juvenile Coordinator Interim Reports (“ICE Report” and
 28   “ORR Report”) appear in the public record as Documents # 1029-1 and #1029-2,
      respectively.

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  1   temporarily housed by ICE pursuant to Title 42 authorities over 72 hours pending
  2   expulsion in its monthly Paragraph 28A reporting shared with Plaintiffs’ counsel
  3   since March 2020 . . .” [Doc. # 1029-1] (“ICE Report”), at 8. The report adds that
  4   ICE detained 19 class members in hotels for over two days “pending an expulsion
  5   flight to their home country under Title 42 authorities.” Id. These children were
  6   then transported back to “U.S. Customs and Border Protection for processing”
  7   because the flights were delayed by Hurricane Eta. Id. According to the ICE
  8   Report, “[T]hese 19 minors are currently in ORR custody,” id., yet the report fails
  9   to disclose how long CBP detained these class members or where it detained them
 10   before ostensibly transferring them to a licensed placement.2
 11         The Title 42 Order applies to DHS, and therefore covers both ICE and CBP.
 12   See, e.g., Title 42 Order at 17 ¶ 3 (“Under Paragraph 12.A, if a bed in a licensed
 13   facility is immediately available, DHS shall generally make a licensed placement
 14   of class members within 72 hours of arrest or apprehension.”). Yet the ICE Report
 15   says nothing about children whom CBP has detained for more than 72 hours, nor
 16   does it disclose the reasons for prolonged placement in unlicensed Border Patrol
 17   facilities. If Defendants are detaining class members for extended periods in CBP
 18   facilities instead of detaining them in hotels, this places children at no less risk than
 19   hotel placement. The evidence Plaintiffs have independently collected warrants the
 20   Juvenile Coordinators’ reporting on whether this is or may be the case.
 21         According to its ¶ 29 data report, CBP detained 35 children for more than 72
 22   hours during October 2020 alone. Ex. A, Declaration of Melissa Adamson,
 23   November 23, 2020 (“Adamson Decl.”), at ¶ 6.3 Of these 35, CBP’s report
 24
 25   2
        The ORR Report adds nothing to the ICE Report insofar as children designated
 26   for Title 42 expulsion are concerned, stating only that “all minors entering ORR
      custody have been referred under Title 8 provisions.” ORR Report at 1.
 27
      3
 28    Of these 35 children, ten children were listed as “Y” and 25 children were listed as
      “N” in the “T42 (Y/N)” column. Adamson Decl. at ¶ 7.

                                                  2       PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
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  1   indicates that at least 15 children spent five or more days in unlicensed Border
  2   Patrol facilities, including —
  3                 • A 17-year-old child for approximately 18.3 days (438.87 hours)
  4                 • A 6-year-old child for approximately 11.4 days (272.95 hours)
  5                 • A 12-year-old child for approximately 11.4 days (272.95 hours)
  6                 • A 2-year-old held for approximately 11 days (264.87 hours)
  7                 • A 16-year-old held for approximately 8 days (193.00 hours)
  8                 • A 9-month-old held for approximately 7.4 days (177.50 hours)
  9                 • An 8-month-old held for approximately 7.2 days (171.90 hours)
 10                 • A 13-year-old held for approximately 7.2 days (171.88 hours)
 11                 • A 4-year-old held for approximately 7.1 days (170.03 hours)
 12                 • A 4-year-old held for approximately 6.5 days (156.08 hours)
 13                 • A 12-year-old held for approximately 6.5 days (156.08 hours)
 14                 • A 5-year-old held for approximately 6.1 days (145.55 hours)
 15                 • A 2-year-old held for approximately 5.7 days (136.40 hours)
 16                 • A 5-year-old held for approximately 5.3 days (127.52 hours)
 17                 • An 8-year-old held for approximately 5.3 days (127.52 hours)
 18   Id. at ¶ 9.
 19          The available evidence further indicates that CBP’s detaining class members
 20   for such extended periods is exposing children to an unacceptably high risk of
 21   contracting COVID-19.
 22           According to class member E.J.L.A., as of November 18, 2020, CBP had
 23   detained him at the Weslaco Station for three days. Ex. B, Declaration of E.J.L.A.,
 24   November 18, 2020, at ¶¶ 2, 4. He describes conditions at the Weslaco Border
 25   Patrol Station as follows:
 26
             When I got to the Weslaco station, there were many children. I was detained
 27
 28

                                                  3      PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
                                                                                               CV 85-4544-DMG-AGRX
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  1          in a room with thirty other minors and we were cramped. . . . I had to sleep
             in a sitting position because there were so many people in the room. I met
  2          eight other boys who were detained with me who had been detained four
  3          days. They have all left the facility. I met a Guatemalan minor who had been
             detained at the Weslaco station for five days. . . Currently, I am in a room
  4          alone and isolated from others. . . . I have been given one disposable face
  5          mask and I have to use the same face mask every day. I have not been
             provided hand sanitizer since my arrival. I have not been provided gloves. I
  6          do not have access to soap for handwashing. Another child asked for soap
  7          and he was told no. . . . There is no social distancing here. When we are in
             line for showers and food, we are not spaced six feet apart. We stand right
  8          next to each other.
  9   Id. at ¶ 7.
 10          Another Weslaco detainee is 13-year-old K.J.M.B.. Ex. C, Declaration of
 11   K.J.M.B., November 18, 2020, at ¶ 2. As of November 18, 2020, Defendants had
 12   detained him at Weslaco for four days. Id. at ¶ 4. He corroborates key elements of
 13   E.J.L.A.’s account: “I sleep on a cushion on the floor. I have a thin nylon blanket
 14   that I use to sleep. I do not have soap to wash my hands. I have not been given
 15   hand sanitizer. I do not get my temperature checked regularly. I have not received
 16   a face mask. I am wearing the cloth mask that I arrived to the United States with.”
 17   Id. at ¶ 8 (emphasis added).
 18          Class member M.N.A.G. is eight years old. Ex. D, Declaration of M.N.A.G.,
 19   November 18, 2020, at ¶ 2. He reports having arrived with his ill mother, whom
 20   Defendants transferred separately to an unknown location, leaving they young boy
 21   alone at the Weslaco Station. Id. at ¶ 3. He declares:
 22
             My mom is somewhere else. I think she is in the hospital because her back
 23          hurts. I have not been able to talk to her because she is sick. They told me
 24          that I cannot leave until she gets here. . . . I have been detained at this facility
             for 2 days. I have been told . . . I have to wait here until my mother gets out
 25          of the hospital. I have not been told when she will get out. I have not been
 26          told how long I will have to wait at the facility. One boy had to wait five
             days. I do not remember his name. He told me he had been here five days.
 27
      Id. at ¶¶ 3-5.
 28

                                                   4       PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
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  1          M.N.A.G., too, reports experiencing substandard and dangerous conditions
  2   at the Weslaco Station:
  3
             I am alone in my room. I do not know why I am alone. It makes me feel
  4          abandoned. I feel very alone. I have been completely alone for an entire day.
  5          . . . It is very cold. It is always very cold. I get water often. When I want to
             wash my hands, there is only water. There is no soap. I do not know why
  6          there is no soap. I received one disposable mask when I arrived to Weslaco
  7          station and I have had the same mask since then. I have not received a new
             mask. My mask is dirty on the inside. Here, people do not practice social
  8          distancing. Social distancing is when people do not get too close so that they
  9          are not get sick from COVID. When we are in line, we sit or stand close
             together. I think many people here will get sick from COVID. That makes
 10          me feel scared.
 11   Id. at ¶ 7.4
 12          Defendants’ have steadfastly refused to disclose the reasons they detain
 13   children for prolonged periods in unlicensed Border Patrol facilities.5 On October
 14   13, 2020, Plaintiffs advised Defendants that CBP’s “August [2020] dataset reports
 15   23 children held for over 72 hours in CBP facilities, eight of whom it appears were
 16   detained for over a week in such facilities.” Ex. F, Declaration of Carlos Holguín,
 17
 18
      4
 19    On November 18, 2020, Plaintiffs conducted a monitoring visit of the Weslaco
      Border Patrol Station. Ex. E, Declaration of Denise Rosales, November 21, 2020.
 20
      5
       Settlement ¶ 28A provides: “The INS, through the Juvenile Coordinator, shall also
 21   collect information regarding the reasons for every placement of a minor in a
 22   detention facility or medium security facility.” Settlement ¶ 29 provides: “[T]he
      INS shall provide to Plaintiffs’ counsel the information collected pursuant to
 23   Paragraph 28, as permitted by law, and each INS policy or instruction issued to INS
 24   employees regarding the implementation of this Agreement.”
 25   Border Patrol facilities are indisputably “detention facilities,” and, even absent a
 26   pandemic, Defendants should disclose the reasons they detain children in these
      facilities. The case for transparency is all the more compelling now. Defendants’
 27   keeping children for extended periods of time in Border Patrol facilities instead of
 28   hotels is not consistent with the Court’s Title 42 Order and protracting children’s
      detention in such facilities is no less dangerous than detaining them in hotels.

                                                 5       PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
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  1   November 23, 2020 (“Holguín Decl.”), Attachment 1. Plaintiffs requested that
  2   Defendants “disclose the reasons for children’s extended stays in CBP facilities . .
  3   .” Id. Plaintiffs explained the requested information would allow them to monitor
  4   whether Defendants are detaining class members in CBP facilities whom they
  5   would have “hoteled” but for the Title 42 Order. Id. On November 19, the Parties
  6   met and conferred, but failed to resolve their differences over CBP’s reporting
  7   obligations.6
  8         The Court should order the Juvenile Coordinators to report on class
  9   members held for longer than 72 hours in Border Patrol stations. It should also
 10   order CBP to report its reasons for failing to transfer class members to a licensed
 11   placement within 72 hours of taking them into custody pursuant to Settlement
 12   ¶¶ 28A and 29.
 13         2)        The Reports should disclose instructions and policies ORR has issued
 14                   to protect children from COVID-19 in ORR facilities.
 15         The Court’s order of April 24, 2020, directs the ORR Juvenile Coordinator
 16   to “[i]dentify the location of any ORR facility that has had any individual, whether
 17   detainee or staff member, test positive for COVID-19, and provide a status report
 18   and census of those infected at that facility during the reporting period.” Order re
 19   Plaintiffs’ Motion to Enforce, April 24, 2020 [Doc. # 784], at 20. It further directs
 20   the ORR Juvenile Coordinator to “[d]escribe any policies and/or practices aimed at
 21   identifying and protecting minors who are at heightened risk of serious illness or
 22   death should they contract COVID-19.” Id.
 23         The Court’s order of October 26 directs Defendants to “provide their current
 24   internal instructions and policies to Plaintiffs’ counsel, pursuant to Paragraph 29 of
 25   the FSA.” Oct. 26 Order at 3.
 26
 27   6
        The Court’s order of October 26, 2020, directs the Parties to meet and confer
 28   regarding “provision of information of the reasons for placement of Class Members
      in a particular detention facility.” Oct. 26 Order at 3 ¶ 4.

                                                 6       PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
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  1         On October 30, 2020, Plaintiffs emailed Defendants requesting, “pursuant to
  2   Settlement ¶ 29 and ¶ 5 of the Court’s order of October 26, 2020 [Doc. #1014],”
  3   that Defendants “produce all policies and instructions not previously supplied
  4   which they have issued to prevent, mitigate, or manage COVID-19 infection in
  5   ORR facilities.” Holguín Decl., Attachment 2. On November 19, 2020, the Parties
  6   met and conferred, but failed to resolve their differences over ORR’s obligation to
  7   disclose such policies and instructions. Holguín Decl. at ¶ 4.
  8         Although the Court’s order of April 24 does not squarely require the ORR
  9   Juvenile Coordinator to report such policies or instructions, her doing so should
 10   now be required to ensure Defendants’ compliance with their obligation to ensure
 11   that conditions in detention facilities are safe, sanitary, and consistent with a bona
 12   fide concern for vulnerable children during the pandemic.7
 13         According to the ORR Report, ORR’s most recent policies or instructions
 14   related to COVID-19 protocols date from approximately four months ago. ORR
 15   Report at 6. Given the pandemic’s spread, it would be remarkable and disturbing
 16   should these now-dated instructions reflect the sum total of ORR’s efforts to
 17   protect children in its custody from COVID-19, yet Defendants have refused to
 18   disclose any more recent guidance, or even to say whether ORR has or has not
 19   issued has anything new.
 20         ORR’s refusal to disclose its current policies and instructions has predictably
 21   sown confusion and hindered legal service providers’ ability to advocate for their
 22
 23
      7
 24     Settlement ¶ 12 provides: “Following arrest, the INS shall hold minors in facilities
      that are safe and sanitary and that are consistent with the INS’s concern for the
 25   particular vulnerability of minors.” Settlement Exhibit 1 requires ORR facilities to
 26   provide children “[p]roper physical care . . .” and “[a]ppropriate routine medical
      and dental care, family planning services, and emergency health care services . . .”
 27
 28   Settlement ¶ 29 requires Defendants to disclose “each INS policy or instruction
      issued to INS employees regarding the implementation of this Agreement.”

                                                 7       PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
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   1   clients. For example, ORR has refused to inform staff at The Door, a legal service
   2   provider that represents class members in New York, “if anyone at The Children’s
   3   Village has tested positive, has been exposed, has exhibited symptoms, or has been
   4   denied entry to the site . . . even when our staff are visiting the site in person for
   5   client meetings” Ex. G, Declaration of Hannah P. Flamm (“Flamm Decl.”),
   6   November 23, 2020, at ¶ 6.
   7         ORR’s reticence with respect to the health and safety of class members is
   8   both inexcusable and potentially dangerous. See id. (“To protect our clients’ rights
   9   and to further the best interests, health, and safety of our clients and our staff, we
 10    need to be informed, with our clients’ consent, if any of our clients has tested
 11    positive, has been exposed, or has developed symptoms of COVID-19.”). The
 12    Court should order the ORR Juvenile Coordinator to disclose any policies or
 13    instructions the agency has issued since July 2020, to mitigate the risks to class
 14    members of COVID-19 infection.
 15          3)     Prolonged and unexplained detention of class members in “out-of-
 16                 network” facilities.
 17          The Court’s order of April 24 directs the ORR Juvenile Coordinator to
 18    report on “[m]easures taken to expedite the release of Class Members to suitable
 19    custodians during the COVID-19 health emergency . . ..” April 24 Order at 19.
 20          In addition to the many licensed facilities ORR uses to detain class
 21    members, the agency places children at a small number of “out-of-network” or
 22    “OON” facilities. Among these facilities is the Nexus Children’s Hospital in
 23    Houston, Texas (“Nexus”). Ex. H, Declaration of Leecia Welch, November 23,
 24    2020 (“Welch Decl.”), at ¶ 2. The ORR Report provides no information regarding
 25    children detained in OON facilities, which is especially problematic considering
 26    the children ORR dispatches to OON facilities are among the most vulnerable
 27    children in its custody. See id. at ¶ 5.
 28          On November 13, 2020, Plaintiffs’ counsel visited the Nexus facility

                                                   8       PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
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   1   pursuant to Settlement ¶ 32. Id at ¶¶ 2, 6. Counsel there encountered six children
   2   whom ORR had placed at Nexus, including four children who had been detained at
   3   Nexus for six months or longer, and one child who had been detained there for
   4   over a year. Id. at ¶¶ 3, 12, 15-17.8 Two of the class members currently placed at
   5   Nexus described their experiences at the facility in sworn declarations. See
   6   Exhibits I and J.
   7         Disturbingly, one day prior to her visit, ORR provided Plaintiffs’ counsel
   8   with a roster of class members detained at Nexus that indicated the agency had
   9   only three children there. Welch Decl. at ¶¶ 3-4. This was inaccurate. Id. ¶ 3. On
 10    November 16, 2020, Plaintiffs emailed Defendants requesting information
 11    regarding Defendants’ failure to report all children placed in its out-of-network
 12    facilities. Holguín Decl., Attachment 2. Plaintiffs met and conferred with
 13    Defendants on November 19, 2020 regarding this issue but have not yet received
 14    an explanation for this inaccurate reporting. Welch Decl., at ¶ 5.
 15    ///
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        As best as counsel could determine, ORR was providing these children little or no
 28    education over the course of such protracted stays and several children appeared to
       be overmedicated. Id. at ¶¶ 9-11, 14.

                                                 9       PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
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   1         The ORR Report should disclose the reasons for children’s protracted
   2   detention at Nexus and explain why half of the children ORR has placed at Nexus
   3   fail to appear in the agency’s ¶ 29 reports.
   4
       Dated: November 23, 2020.        CENTER FOR HUMAN RIGHTS AND
   5                                    CONSTITUTIONAL LAW
   6                                    Carlos R. Holguín
                                        Peter A. Schey
   7
   8                                    NATIONAL CENTER FOR YOUTH LAW
                                        Leecia Welch
   9                                    Neha Desai
 10                                     Poonam Juneja
                                        Freya Pitts
 11                                     Melissa Adamson
 12                                     Mishan Wroe
 13
                                        /s/ Carlos Holguín_______________
 14                                     Carlos Holguín
 15                                     One of the Attorneys for Plaintiffs
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                                                  10   PLAINTIFFS’ RESPONSE TO JUVENILE COORDINATORS’ INTERIM REPORTS
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